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                              EXHIBIT 7

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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